      2:22-cv-01851-RMG          Date Filed 06/12/22        Entry Number 1        Page 1 of 9




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION
                                    IN ADMIRALTY

 PLATINA BULK CARRIERS PTE LTD,                    )   Civil Action No.: 2:22-cv-1851-RMG
                                                   )
                Plaintiff,                         )
                                                   )
                      vs.                          )
                                                   )           VERIFIED COMPLAINT
 PRAXIS ENERGY AGENTS DMCC,                        )
 PRAXIS ENERGY AGENTS LLC, and                     )
 PRAXIS ENERGY AGENTS PTE LTD.                     )
                                                   )
               Defendants.                         )



       Plaintiff Platina Bulk Carriers Pte Ltd., (“Plaintiff” or “Platina”), for its Verified Complaint

against the Defendants Praxis Energy Agents DMCC, Praxis Energy Agents LLC, and Praxis

Energy Agents Pte Ltd. (“Defendants”), allege, upon information and belief, as follows:

                                          THE PARTIES

       1.     Plaintiff, Platina Bulk Carriers Pte Ltd. (“Platina”), is a company organized and

existing under the laws of Singapore with an office at 20 Kramat Lane, #02-05, United House,

228773, Singapore.

       2.     At all material times, Platina was the time charterer/disponent owner of the M/V

OCEANMASTER, an oceangoing bulk carrier vessel registered in Liberia and bearing IMO No.

9641340.

       3.     Defendant Praxis Energy Agents DMCC (“Praxis Dubai”) is a company said to

have been organized and existing under the laws of the United Arab Emirates, purportedly with a

principal place of business at Unit No: 16-03, Swiss Tower, Plot No: JLT-PH2-Y3A, Jumeirah




                                                  1
         2:22-cv-01851-RMG       Date Filed 06/12/22      Entry Number 1        Page 2 of 9




Lakes Towers, P.O Box 215503, Dubai, UAE. Upon information and belief, Praxis Dubai has

closed its Dubai office and ceased doing business.

         4.      Defendant Praxis Energy Agents Pte Ltd. (“Praxis Singapore”) is a company

organized under the laws of Singapore with its principal place of business at 300 Beach Road,

Suite 10-01, The Concourse, Singapore, 199555.

         5.     Defendant Praxis Energy Agents LLC, (“Praxis US”) is a company organized under

the laws of the United States with its principal place of business at 1725 Hughes Landing BLVD

Ste. 890, Woodlands, TX 77380.

         6.     Defendants Praxis Dubai, Praxis Singapore, and Praxis US are collectively referred

to herein as “Defendants.”

                                 VENUE AND JURISDICTION

         7.     This matter arises out of the breach of maritime contract. This Court has subject

matter jurisdiction under admiralty and maritime jurisdiction existing under 28 U.S.C. §1333. This

matter also falls within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure.

         8.     As will be discussed more fully herein, Plaintiff has commenced an action in the

United States District Court for the Southern District of New York against Defendants (Exhibit 1)

in accordance with the General Terms and Conditions for the Sale of Marine Bunker Fuels and

Lubricants (“Terms and Conditions”), the contract from which this action and the New York action

arise.

         9.     Venue is proper in this district because there is or will be during the pendency of

this action property due and owing to the Defendants within this district and in the hands of a non-

party garnishee, namely Cooper & Bilbrey P.C., which has an office and place of business within

this Judicial District.



                                                 2
       2:22-cv-01851-RMG            Date Filed 06/12/22     Entry Number 1       Page 3 of 9




         10.       It is believed that non-party Garnishee Cooper & Bilbrey P.C., will be holding

property subject to this maritime attachment since Defendants are due to or have received proceeds

from a pending action before the Honorable Richard M. Gergel, Docket No. 2:20-cv-00334-RMG

in the District.

         11.       Pursuant to an Order dated June 8, 2022 (ECF 172), it is believed that Cooper &

Bilbrey P.C., in its role as attorneys for Praxis US, is or will be in the possession of funds owed to

Praxis US.

                            DEFENDANTS’ BREACH OF CONTRACT

         12.       As alleged in the New York action, on or about October 18, 2019, Platina as the

time charterer/disponent owner of the M/V OCEANMASTER ordered bunker fuel from Praxis

Dubai.

         13.       On October 19, 2019, pursuant to that order, bunker fuel was delivered to the M/V

OCEANMASTER by Al Arabia Bunkering Company LLC (“Al Arabia”) as physical suppliers.

Praxis Dubai invoiced Platina $271,427.60 for the bunker fuel.

         14.       On October 21, 2019, Platina paid $271,429.60 to Praxis Dubai in satisfaction of

its invoice for the bunker fuel delivered to the M/V OCEANMASTER.

         15.       However, Praxis Dubai never paid Al Arabia its invoice of AED 980,596.41 for the

bunker fuel.

         16.       Because of Praxis Dubai’s non-payment, Al Arabia obtained an arrest order against

the M/V OCEANMASTER in Fujairah, U.A.E. and arrested the vessel on November 27, 2019.

         17.       As the time charterer/disponent owner of the M/V OCEANMASTER, Platina

warranted to the vessel Owner that it would keep the vessel free and clear of all liens, etc.




                                                   3
        2:22-cv-01851-RMG         Date Filed 06/12/22      Entry Number 1       Page 4 of 9




Accordingly, Platina was obligated to resolve Al Arabia’s claim despite having already paid Praxis

Dubai for the same bunker fuel.

         18.    On December 2, 2019, Platina settled the claim with Al Arabia Bunkering

Company LLC for a total of $148,472 and received from Al Arabia an assignment of its rights

against Praxis Dubai up to the amount of the settlement.

         19.    While the settlement was being negotiated, the M/V OCEANMASTER remained

under arrest until December 4, 2019 at 1200 hrs. local time when she was released. The damages

suffered by Platina due to the time lost at Fujairah as a result of the arrest by Al Arabia totals

$147,335.90, plus attorneys’ fees of $20,000.

         20.    Thus, the total damages suffered by Platina due to Praxis Dubai’s failure to pay Al

Arabia is $315,807.90, plus interest from December 4, 2019.

                   ALTER EGO RELATIONSHIP AMONG DEFENDANTS

         21.    As also alleged in the New York action, all three Defendants carry out business

operations as if they are operating as one entity and are alter egos of one another.

         22.    The three Defendants have or have had overlapping officers and directors.

Theodosios Kyriazis was the manager of Praxis Dubai. He is also a director and sole shareholder

of Praxis Singapore. Mr. Kyriazis identifies himself as the Legal Advisor for Praxis Singapore and

Praxis US. Mr. Kyriazis is also identified as the director and registered agent for Praxis US. 1

         23.    The Defendants’ correspondence is intended to confuse its customers. All of the

forms used by all three Defendants are identical. Each form identifies the company as only “Praxis

Energy Agents,” just at different addresses.




1
    Mr. Kyriazis holds the email address legal.control@praxisenergyagents.com.
                                                 4
        2:22-cv-01851-RMG         Date Filed 06/12/22      Entry Number 1        Page 5 of 9




         24.    All three Defendants shared a common Internet address. 2

         25.    All three Defendants utilized the same General Terms and Conditions for the Sale

of Marine Bunker Fuels and Lubricants.

         26.    Upon information and belief, the Defendants comingle their assets. Praxis Dubai

shifted assets to Praxis Singapore at the same time as Praxis Dubai was failing to pay Al Arabia

for the bunkers supplied to the Plaintiff’s vessels and the M/V OCEANMASTER was arrested by

Al Arabia.

         27.    Mr. Kyriazis dominates and controls the Praxis Defendants and disregards their

corporate form to the extent that each is actually carrying on business and operations as one joint

entity. Defendants are alter egos, each liable for the debts of the other.

         28.    Insofar as Defendants’ Terms and Conditions may apply to this dispute, they allow

for the awarding of legal fees to the successful party. Plaintiff prays that it be awarded legal fees

incurred in the pursuit of this judgment totaling $100,000.00. (Exhibit 1, ¶ 22.03).

         29.    The Praxis General Terms and Conditions applicable to the supply of fuel to the

M/V OCEANMASTER provide for all disputes to be resolved in the United States District Court

for the Southern District of New York.

                            RULE B MARITIME ATTACHMENT

          30.   As noted above, Plaintiff commenced suit against all three Defendants in the United

States District Court for the Southern District of New York on June 25, 2020.

         31.    In addition to seeking damages due to Defendants’ non-payment to Al Arabia of

the fuel supplied to the M/V OCEANMASTER (despite Platina having paid Praxis Dubai in full)

Plaintiff’s New York Complaint also prays that the three Defendants be found to be alter egos of



2
    See http://www.praxisenergyagents.com.
                                                  5
       2:22-cv-01851-RMG           Date Filed 06/12/22    Entry Number 1        Page 6 of 9




one another, each responsible for these liabilities. The presiding Judge Naomi Buchwald denied

the Defendants Praxis Singapore and Praxis US’s Motion to Dismiss pursuant to Fed. R. Civ. P.

12b(2), (3), and (6), concluding that Platina has properly pleaded alter ego allegations against the

Defendants. (Exhibit 2).

        32.     Defendants are liable to Plaintiff in the amount of $315,807.90 plus estimated legal

fees of $100,000.00, and interest from December 4, 2019, for failure to satisfy Al Arabia’s invoice,

despite demand and being duly paid to do so.

        33.     Upon information and belief, none of the Defendants can be found within the

District as that term is used in Rule B or the Supplemental Rules for Admiralty or Maritime Claim

and Asset Forfeiture Actions (“Supplemental Rules”).

        34.     Upon information and belief, non-party Cooper & Bilbrey P.C., has an office and

place of business in this Judicial District.

        35.     Upon information and belief, Defendants’ property is or soon will be in the

possession of Cooper & Bilbrey P.C. in this District. In particular, in an action pending in this

Court entitled Carl Schröter v. Smooth Navigation, 2:20-cv-334-RMG, Praxis Energy Agents LLC

filed an intervening Complaint alleging that they had provided fuel to the M/V EVOLUTION and

that they are entitled to recover the value of that fuel from the proceeds of the sale of the M/V

EVOLUTION.         Pursuant to an Order dated June 8, 2022, the Honorable Richard M. Gergel

ordered that Praxis Energy Agents LLC be paid $280,220.37 from the registry of the Court and

that these funds be remitted to its counsel, Cooper & Bilbrey, P.C. (ECF 172).

        36.     Since Defendants’ funds will soon be sent to its attorneys Cooper & Bilbrey P.C.

Plaintiff seeks a writ of attachment directed to any and all of Defendants’ funds in the hands of

said garnishee in this Judicial District as security for its now pending New York Action.



                                                 6
      2:22-cv-01851-RMG           Date Filed 06/12/22       Entry Number 1        Page 7 of 9




       37.     As demonstrated by the attached declaration, Plaintiff has searched for the

Defendants in this Judicial District but has been unable to locate any offices or other conditions

that would subject Defendants to being “found” within the District within the meaning of

Supplemental Rule B.

       38.     Accordingly, the Plaintiff seeks an order from this Court directing the Clerk of

Court to issue Process of Maritime Attachment and Garnishment pursuant to Supplemental Rule

B attaching, inter alia, property of the Defendants held by Cooper & Bilbrey P.C., and Cooper &

Bilbrey’s bank as garnishees, within the District, for the purpose of obtaining security for the now

pending New York proceedings.

       WHEREFORE, Plaintiff prays:

       A.      That process in due form of law issue against the Defendants, citing them to appear

and answer under oath all and singular the matters alleged in the Verified Complaint, failing which

default judgment be entered against it in the sum of US $415,807.90.

       B.      That since the Defendants cannot be found within this District pursuant to Rule B

of the Supplemental Rules, this Court issue an Order directing the Clerk of Court to issue Process

of Maritime Attachment and Garnishment attaching all goods, chattels, credits, letters of credit,

bills of lading, funds, effects, debts and monies, tangible or intangible, or any other funds up to the

amount of US $415,807.90 belonging to, due or being transferred to, from, or for the benefit of the

Defendants PRAXIS ENERGY AGENTS DMCC, PRAXIS ENERGY AGENTS LLC, and

PRAXIS ENERGY AGENTS PTE LTD., including but not limited to such property as may be

held, received or transferred in any Defendant’s name or as may be held, received or transferred

for its benefit at, moving through, or within the possession, custody or control of Cooper & Bilbrey

P.C., or any Cooper & Bilbrey’s banking/financial institutions and/or other institutions or such



                                                  7
      2:22-cv-01851-RMG          Date Filed 06/12/22        Entry Number 1       Page 8 of 9




other garnishees to be named, and that all persons claiming any interest in the same be cited to

appear and pursuant to Supplemental Rule B answer the matters alleged in the Verified Complaint.

       C.      That this Court award Plaintiff the attorneys’ fees and costs incurred in this action;

and

       D.      That the Plaintiff have such other, further, and different relief as the Court deems

just, proper, and equitable.

       Respectfully submitted this 12th day of June 2022 at Charleston, South Carolina.



                                                     HINES & GILSENAN LLC


                                                     By: /s/ Julius H. Hines
                                                     Ryan Gilsenan, Fed I.D. No. 9837
                                                     Julius H. Hines, Fed. I.D. No. 5807
                                                     Edward N. Smith, Fed I.D. No. 13429
                                                     1535 Hobby Street, Suite 203-D
                                                     Charleston Navy Yard
                                                     North Charleston, SC 29405
                                                     T: 843.266.7577
                                                     gilsenan@hinesandgilsenan.com
                                                     hines@hinesandgilsenan.com
                                                     smith@hinesandgilsenan.com

                                                     Counsel for the Plaintiff




                                                 8
      2:22-cv-01851-RMG          Date Filed 06/12/22        Entry Number 1        Page 9 of 9




                                 ATTORNEY VERIFICATION


       Ryan D. Gilsenan, an attorney duly authorized to practice before this Honorable Court,
under the penalty of perjury of the laws of the United States, declares as follows:


       1.      My name is Ryan D. Gilsenan.

       2.      I am over 18 years of age, of sound mind, capable of making this Verification, and
               fully competent to testify to all matters stated herein.

       3.      I am an attorney at Hines & Gilsenan LLC, attorneys for the Plaintiff.

       4.      I have read the foregoing Verified Complaint and know the contents thereof and
               believe the same to be true and accurate to the best of my knowledge, information,
               and belief.

       5.      The reason why this Verification is being made by the deponent and not by the
               Plaintiff is that the Plaintiff is a business organization with no officers or directors
               now within this District.

       6.      The source of my knowledge and the grounds for my belief are the statements made,
               and the documents and information received from, the Plaintiff and agents and/or
               representatives of the Plaintiff.

       7.      I am authorized to make this Verification on behalf of the Plaintiff.

       8.      The foregoing is true and correct under penalty of perjury of the laws of the United
               States of America.


Dated: June 10, 2022
       Charleston, South Carolina




                                               ___________________________________
                                               Ryan D. Gilsenan



                                                  9
